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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )             CASE NO. 8:05CR199
                                         )
                    vs.                  )             ORDER FOR DISMISSAL
                                         )
JOSE CONTRERAS-CORTEZ,                   )
                                         )
                    Defendant.           )

      NOW ON THIS 15th day of June, 2006, this matter is before the Court on the United

States’ Motion for Dismissal (Filing No. 120). The Court, being duly advised in the

premises, finds said Motion should be sustained.

      IT IS HEREBY ORDERED:

      1.     The Plaintiff’s motion to dismiss (Filing No. 120) is granted;

      2.     Leave of Court is granted for the United States to dismiss, without prejudice,

the Indictment filed herein as to the Defendant, Jose Contreras-Cortez; and

      3.     The Indictment filed herein is hereby dismissed, without prejudice, as it

pertains to the Defendant, Jose Contreras-Cortez.



                                         BY THE COURT:

                                         s/Laurie Smith Camp
                                         United States District Court Judge
